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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


JADA MARIE VAUGHN, as Personal
Representative of the Estate of
TERRANCE SHEREL VAUGHN, SR., deceased

      Plaintiff,                                Case No.: 4:20-cv-11658
                                                Hon. Matthew F. Leitman
-v-

BRIAN WILSON, individually;
CHARLES JANCZAREK, individually;
ERIC HIX, individually;
RUBEN GARCIA, individually;
RYAN GARRARD, individually;
EVAN SOLTIS, individually;
DANIELLE VEATCH, LPN, individually, and,
OAKLAND COUNTY, a Michigan governmental subdivision,

     Defendants.
__________________________________________________________________/

                   ORDER FOR THIRD EXTENSION OF
                     SCHEDULING ORDER DATES

      Upon good cause pursuant to Plaintiff’s Motion for Third Adjournment of

 Discovery Dates for an Additional 60 Days and First Request for Adjournment of

 the Balance of Scheduling Order by 60 days, IT IS ORDERED that the dates

 contained in the Court’s May 11, 2021, Order (ECF No. 43) are EXTENDED as

 follows:
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  EVENT                                              DEADLINE
  Fact Discovery Cutoff                              December 6, 2021
  Rule 26(a)(2) Proponent Expert Disclosures         December 17, 2021
  Rule 26(a)(2) Rebuttal Expert Disclosures          January 17, 2021
  Expert Discovery Cutoff                            June 29, 2022
  Dispositive Motions and Challenges to Experts      February 7, 2022
  Rule 26(a)(3) Pretrial Disclosures                 May 16, 2022
                                                     June 6, 2022
                                                     Response briefs due 10 days
                                                     after filing, but
  Motions in Limine                                  not later than June 17,
                                                     2022. Reply briefs
                                                     due 5 days after responses
                                                     are filed, but not
                                                     later than June 23, 2022.
  Final Pretrial Order                               June 29, 2022
  Final Pretrial Conference                          July 13, 2022 at 1:30 p.m.
  Trial Date                                         July 26, 2022 at 9:00 a.m.
                                   JURY TRIAL


                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: October 8, 2021


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on October 8, 2021, by electronic means and/or ordinary
mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-9764




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